    Case: 1:19-cv-08423 Document #: 31 Filed: 07/01/20 Page 1 of 3 PageID #:101




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 KRISTI GINGRICH,

        Plaintiff,                                       Case No. 19-cv-08423

        v.
                                                         Honorable Judge Martha M.
 OMS NATIONAL INSURANCE                                  Pacold
 COMPANY, RRG,
                                                         Honorable Magistrate Judge
        Defendant.                                       Gabriel A. Fuentes



       JOINT/AGREED MOTION FOR ENTRY OF CONFIDENTIALITY ORDER

       Plaintiff Kristi Gingrich (“Plaintiff”) and Defendant OMS National Insurance Company

(“Defendant”)(collectively the “Parties”), through their respective attorneys of record, for their

joint/agreed motion for entry of a confidentiality order, states as follows:

       1.      The instant Complaint alleges causes of action for employment discrimination

against Defendant.

       2.      To litigate this matter, the Parties will need to disclose confidential business

information/documentation, financial information, personnel/employment records, personal

identity information, and information/documentation not available to the public.

       3.      As a result, and pursuant to Local Rule 26.2, the Parties propose that the Court

enter a form confidentiality order in accordance with the model confidentiality order for the

Northern District of Illinois, which is being submitted to the Court by electronic mail in

compliance with the Court’s standing order, in both redline and clean versions.

       4.      The proposed order has been approved by the Parties.

         WHEREFORE, Plaintiff Kristi Gingrich and Defendant OMS National Insurance
    Case: 1:19-cv-08423 Document #: 31 Filed: 07/01/20 Page 2 of 3 PageID #:102




Company respectfully request that this Honorable Court enter the proposed confidentiality order

transmitted to the court, and any such further relief as this Honorable Court deems just and

appropriate.

Dated: July 1, 2020

RESPECTFULLY SUBMITTED,


 By: /s/ Ethan E. White                             By: /s/ Christopher S. Wunder
    Ethan Emery White                                  Christopher S. Wunder
    EMERY LAW, LTD.                                    KAPLAN PAPADAKIS & GOURNIS, P.C.
    2021 Midwest Road, Suite 200                       180 N. LaSalle St., Suite 2108
    Oak Brook, IL 60523                                Chicago, IL 60601
    630-984-0339                                       312-726-0531
    ewhite@emerylawltd.com                             cwunder@kpglaw.com

    Counsel for Plaintiff                              Counsel for Defendant




                                                2
    Case: 1:19-cv-08423 Document #: 31 Filed: 07/01/20 Page 3 of 3 PageID #:103




                                CERTIFICATE OF SERVICE

        I, the undersigned, being first duly sworn upon oath, depose, and say that I caused to be
served the foregoing document by electronically filing the same with the Clerk for the U.S.
District Court for the Northern District of Illinois, Eastern Division, a copy of which was then
forwarded to each attorney of record by CM/ECF on July 1, 2020.

                                             RESPECTFULLY SUBMITTED,

Dated: July 1, 2020                          By: /s/ Ethan E. White


EMERY LAW, LTD.
Ethan E. White
2021 Midwest Road, Suite 200
Oak Brook, IL 60523
(630) 984-0339 (direct)
ewhite@emerylawltd.com




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